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Exhibit R
Case 1:19-cv-10203-IT Document 128-18 Filed 04/29/21 Page 2 of 5

From: Dawn Dorland dawndorland@ gmail.com
Subject: Boston Book Festival Drops One City One Story selection
Date: August 16, 2018 at 6:55 PM
To: dearsugars@nytimes.com

Dear Sugars,
I’m a writer who wrote you a letter last year about an artistic betrayal. For two years | was in a private conflict with another writer who crafted
fiction from something momentous | did with my own life—| donated my kidney to a stranger—who | felt, by not telling me about the story (i

found out from someone else) had betrayed my intimacy and privacy as a friend.

After muddling through the middle of that experience, with more questions than answers, and a deep sense that something was wrong (“The
body knows’), | might finally be at the ending...

hitos:/Avww.bostonglobe.com/metro/20 18/08/13/noston-book-festival-cancels-one-city-one-story-
evenvUYDB4vAaruchEWC2dnU0fO/story. him!

 

 

The reporting around this incident, which offered me such relief after suffering for two years in silence, has not inspired any public
conversation, to my knowledge, among writers and our relationships to our human subjects. My plagiarist fiercely maintains her right to an
artistic vision. But don’t we bankrupt our art of its value if we don’t treat our human subjects with empathy?

Cwouts you be interested in taking up this fraught topic on your show? )

Kindly,

Dawn Dorland, MTS, MFA
Los Angeles

857-234-2650 (mobile)

| check email once daily at noon.

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Kat Rosenfield &@

@katrosenfield

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Dec 5, 2018, 10

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From: Dawn Dorland dawndoriand@ gmail.com
Subject: Re: Editorial on One City One Story?
Date: August 17, 2018 at 6:58 AM
To: makishima@globe.com
Dear Paul,
Thanks so much for your message (especially since you're on vacation!).
| understand the firewall between reporting and editorial and was ready for that kind of response.

As for further reporting about GrubStreet, if you change your mind, here are a couple of concerns and leads.

-As Grub’s Director of Advocacy, Sonya Larson has been on the vanguard of a national movement toward “literary citizenship” (if you google
her you can find many events that she has led).

-I was approached recently by a Muse conference-goer named Betsy Luebbe-Garrett who noticed me missing at last year’s conference and
told me she has mixed feelings about GrubStreet. | could try to put you two in touch if you are interested.

-The Muse & the Marketplace conference fills a hotel every year and attracts aspiring writers nationwide. Reporting about the unethical
behavior of its sole director might actually enjoy a wide readership.

Thanks for everything, Paul.

Kindly,
Dawn

PS | haven't seen any of this reporting get picked up at Literary Hub. Do you have contacts over there who curate the Lit Hub Daily?

| check email once daily at noon.

On Aug 17, 2018, at 5:23 AM, Paul Makishima < giobe.com> wrote:

 

Hey Dawn:

Thanks for the suggestions. We'll certainly keep our ear to the ground for other complaints about Grub. We have to be discerning about
the stories we report out of orgs like it as some of our readers could feel that they are too “inside baseball.”

As for the editorial those are handled by another department. In our industry we try to keep a firewall between news and editorial so
readers don’t come to think that our coverage is guided by ideology.

Best wishes and thanks for your help with the story.
Paul

On Thu, Aug 16, 2018 at 10:52 PM Dawn Dorland <dawndoriand @gmail.com> wrote:
| Dear Paul,

   
    
 

Hi, it's Bawn from LA. Thank you for ail of your reporting & editing during my plagiarism fracas.

| left you a voicemail today wondering whether there’s any appetite for looking into GrubStreet’s personnel response to plagiarism by their
Director of Advocacy {!). I'd be happy to share my correspondence with you; it’s been an exercise in frustration. I’m concerned that other
writers might be vulnerable to the kind of intimidation that the GrubStreet Director used on me, including hostile conduct at the writing
conference she runs, the Muse & the Marketplace, which | attended for a ten year streak until her behavior in 2017.

Additionally, | was wondering whether the Globe's editorial board had any interest in weighing in on BBF’s decision to drop One City One
Story. As | told Graham, | believe there is at least one member of the BBF/1C1S program commitiee who is in Sonya’s writing group and
another one or two on the GrubStreet board (I can also give you this info). | have wondered all along if a conflict of interest prevented the
program committee from making a rational choice to distance themselves from Sonya’s story much earlier in the process and perhaps
save the 2018 program.

Thanks so much again, Paul. Let me know if you have any questions at all.

Kindly,
Dawn

857-234-2650 (mobile)

 

| check email once daily at noon.

 

DORLAND00033
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From: Dawn Dorland dawndorland@ gmail.com
Subject: Re: GrubStreet instructor & consultant resignation
Date: September 4, 2018 at 8:42 AM : oo
To: makishima@giobe.com : ans ,

Thanks, Paul, no problem.

  
 

. —~
On Sep 4, 2018, at 7;82 AM, Makishima, Paul <pau!.makishima@globe.com> wrote:

eae —— TT

Thanks for your offer, but | think we're going to have to pass on this one.

Hey Dawn:

Paul

Dear Paul,

| have resigned from GrubStreet over their handling of my HR complaint against Sonya Larson. | am happy to provide the email
communications that | reference in my resignation letter if you are interested in reporting out my claims. Sonya’s individual betrayal has
contoured into a community betrayal that painfully chafes against aspects of my personal life, as well as my professional hopes for being
a writer in the GrubStreet mold.

| am considering going to other outlets and/or publishing my resignation as an open letter, but | wanted to run it by you all at the Globe
first.

lf we don’t speak, have a great Labor Day.

Kindly,
Dawn

857-234-2650 (mobile)

| check email once daily at noon.

Begin forwarded message:

From: Eve Bridourg <eve @grubstreet.org>
Date: August 31, 2018 at 7:42:49 AM PDT
To: Dawn Dorland <dawndorland @ gmail.com>

 

 

   

@grubstreet.org>

Dear Dawn,

We will certainly respect your wishes and accept your resignation effective today. I’m sorry that
you feel as you do. Please know that we spent many hours investigating your claims, treating
them very seriously, and protecting your privacy. We did all of this in good faith. We wish you the
very best in your writing life and in your life.

Sincerely,
Eve

Eve Bridburg
Founder and Executive Director

GrubStreet, Inc

162 Boylston Street, 5th Floor
Boston, MA 02116
617.695.0075

@grubwriters
facehonk.com/aribwriters

 

 

 

 

 

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